                          Case 19-10838        Doc 15    Filed 09/14/19      Page 1 of 3
                                      United States Bankruptcy Court
                                    Middle District of North Carolina
In re:                                                                                  Case No. 19-10838-bak
Trung Trieu Tran                                                                        Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0418-2           User: Eubanks                Page 1 of 2                   Date Rcvd: Sep 12, 2019
                               Form ID: 294                 Total Noticed: 49


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 14, 2019.
db             +Trung Trieu Tran,    1364 Lees Chapel Road; Apt F,     Greensboro, NC 27455-2682
cr             +USAA FEDERAL SAVINGS BANK,     Mr. Cooper,    8950 Cypress Waters Boulevard,
                 Coppell, TX 75019-4620
786007397      +Ascension SmartHealth Medical Plan,     Administered by ABS, Inc.,     PO BOX 37705,
                 Oak Park, MI 48237-0705
786007398       Ascension St. Clare’s Hospital,     PO BOX 856946,    Minneapolis, MN 55485-6946
786007399      +Bankers Health Group,    PO BOX 332509,     Murfreesboro, TN 37133-2509
786007400      +Bass & Moglowsky, S.C.,     501 West Northshore Drive #300,     Milwaukee, WI 53217-4541
786007401      +Chapel Walk Apartments,     C/O Signature Property Group,     1370 J Lees Chapel Rd.,
                 Greensboro, NC 27455-2687
786007402       Compass Counseling Wausau, LLC,     3704 Weston Ave.,     Weston, WI 54476-5242
786007390       Equifax Information Systems LLC,     P.O. Box 740241,     Atlanta, GA 30374-0241
786007391       Experian,    P.O. Box 2002,    Allen, TX 75013-2002
786007404      +Fed Loan Servicing,    Post Office Box 60610,     Harrisburg, PA 17106-0610
786007405      +Gimbel, Reilly, Guerin, & Brown, LLP,      330 E Kilbourn Ave #1170,    Milwaukee, WI 53202-6616
786007406       Guilford Co. Tax Collections,     Post Office Box3328,     Greensboro, NC 27402-3328
786007407       Harold, Scrobell, & Danner, S.C.,     315 Oneida St,    Minocqua, WI 54548
786007409      +JPMCB - Card Service,    301 N. Walnut St.,     Floor 09,    Wilmington, DE 19801-3971
786007410      +KerberRose S.C.,    115 E Fifth St.,    Shawano, WI 54166-2439
786007411      +Lori Edwards,    c/o Axley Brynelson, LLP,     Attn: Managing Agent or Officer,     2 E Mifflin St,
                 Madison, WI 53703-4269
786007413      +Marshfield Medical Center,     611 St Joseph Ave,    Marshfield, WI 54449-1832
786007389       NC Child Support,    Centralized Collections,     Post Office Box 900006,    Raleigh, NC 27675-9006
786007395      +NC Department of Revenue,     Attn: Managing Officer/HR Department,     501 N Wilmington St.,
                 Raleigh, NC 27604-8002
786007419       North Carolina Dept. of Revenue,     Post Office Box 1168,     Raleigh, NC 27602-1168
786007388      +North Carolina Employment Security,     Commission,    Post Office Box 26504,
                 Raleigh, NC 27611-6504
786007421      +OSI Collection Services, Inc.,     Post Office Box 7172,     Dublin, OH 43017-0772
786007420      +Oneida County Treasurer,     1 N Oneida Ave,    Rhinelander, WI 54501-3232
786007422      +Park City Credit Union,     PO BOX 770,    Merrill, WI 54452-0770
786007423      +Paul and Katherine Myers,     C/O Oneida County Dept. of Social Svs. &,     Child Suport,
                 PO BOX 400,    Rhinelander, WI 54501-0400
786007425       Performant Recovery, Inc.,     Post Office Box 9054,    Pleasanton, CA 94566-9054
786007427      +R & D Construction,    220 Boatwright Ave.,     Danville, VA 24541-1902
786007428       Sacred Heart-St. Mary’s Hospital,     PO BOX 856958,    Minneapolis, MN 55485-6958
786007429      +SunTrust Bank (Mortgage),     Attn: Officer,    1001 Semmes Avenue,    Richmond, VA 23224-2245
786007430      +Suzanne Tran,    C/O Bureau for Child Support Enforcement,      PO BOX 247,
                 Charleston, WV 25321-0247
786007431      +The U.S. Department of Treasury,     Bureau of the Fiscal Service,     C/O Department of Defense,
                 3201 Pennsy Drive, Building E,     Landover, MD 20785-1603
786007392       Trans Union Corporation,     P.O. Box 2000,    Crum Lynne, PA 19022-2000
786007432       U.S. Attorney General,    U.S. Department of Justice,      950 Pennsylvania Ave. NW,
                 Washington, DC 20530-0001
786007394      +US Attorney’s Office (MD),      101 S. Edgeworth Street, 4th floor,     Greensboro, NC 27401-6045
786007434      +USAA Federal Savings Bank,     Attn: Managing Agent,    Post Office Box 33009,
                 San Antonio, TX 78265-3009
786007435       USAA Savings Bank,    Post Office Box 33009,     San Antonio, TX 78265-3009
786007436      +USAA/Nationstar Mortgage,     8950 Cypress Waters Blvd.,     Coppell, TX 75019-4620
786007438      +Veterans Administration (Middle),     Regional Office,     251 North Main Street,
                 Winston-Salem, NC 27155-0002
786007439       Wisconsin Department of Revenue,     Special Procedures Unit,     PO Box 8901,
                 Portsmouth, VA 23708-8901

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
786007396       E-mail/Text: bankruptcy@alliance-collections.com Sep 12 2019 18:25:31
                 Alliance Collection Agencies, Inc.,    PO BOX 1267,   Marshfield, WI 54449-7267
786007393       E-mail/Text: cio.bncmail@irs.gov Sep 12 2019 18:27:05      Internal Revenue Service (MD)**,
                 Post Office Box 7346,   Philadelphia, PA 19101-7346
786007412       E-mail/Text: BANKRUPT@MARSHFIELDCLINIC.ORG Sep 12 2019 18:27:54       Marshfield Clinic,
                 ATTN: Cashiers,   1000 North Oak Ave.,    Marshfield, WI 54449-5779
786007417       E-mail/Text: cmclennan@ncdoj.gov Sep 12 2019 18:27:25      NC Department of Justice,
                 for NC Department of Revenue,    Post Office Box 629,   Raleigh, NC 27602-0629
786007414       E-mail/Text: ext_ebn_inbox@navyfederal.org Sep 12 2019 18:27:55       Navy Federal Credit Union,
                 One Security Place,   Merrifield, VA 22119-0001
786007418      +E-mail/Text: electronicbkydocs@nelnet.net Sep 12 2019 18:27:35       Nelnet Loan Services,
                 3015 S. Parker Rd.,   Suite 425,    Aurora, CO 80014-2904
786007426      +E-mail/Text: bankruptcy@pnfp.com Sep 12 2019 18:27:47      Pinnacle Bank,
                 150 Third Avenue South,   Nashville, TN 37201-2011
786007437      +E-mail/Text: wfmelectronicbankruptcynotifications@verizonwireless.com Sep 12 2019 18:25:29
                 Verizon Wireless Bankruptcy Admin.*,    500 Technology Drive, Suite 550,
                 Weldon Spring, MO 63304-2225
786007440      +E-mail/Text: christopher.murphy1@wecenergygroup.com Sep 12 2019 18:26:51
                 Wisconsin Public Service,    PO BOX 3140,   Milwaukee, WI 53201-3140
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Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
                                                                                            TOTAL: 9

           ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
786007403       Ellen Tran,   Unknown
786007408*      Internal Revenue Service (MD)**,    Post Office Box 7346,   Philadelphia, PA 19101-7346
786007415*      Navy Federal Credit Union,   One Security Place,    Merrifield, VA 22119-0001
786007416*      Navy Federal Credit Union,   One Security Place,    Merrifield, VA 22119-0001
786007424*     +Paul and Katherine Myers,   C/O Oneida County Dept. of Social Svs. &,    Child Suport,
                 PO BOX 400,   Rhinelander, WI 54501-0400
786007433*     +US Attorney’s Office (MD)**,     101 S. Edgeworth Street, 4th floor,   Greensboro, NC 27401-6045
                                                                                              TOTALS: 1, * 5, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 14, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 12, 2019 at the address(es) listed below:
              Charles M. Ivey, III    jlh@imgt-law.com, nc26@ecfcbis.com;jlh@iveymcclellan.com
              John T. Orcutt    on behalf of Debtor Trung Trieu Tran postlegal@johnorcutt.com,
               freelooks.jto2@gmail.com
              Neil D. Jonas   on behalf of Creditor    USAA FEDERAL SAVINGS BANK Neil.Jonas@brockandscott.com,
               wbecf@brockandscott.com;cltecfnotices@brockandscott.com
              William P. Miller    bancm_ecf@ncmba.uscourts.gov
                                                                                             TOTAL: 4
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Form 294

                         UNITED STATES BANKRUPTCY COURT
                                   Middle District of North Carolina
                                      101 S. Edgeworth Street
                                       Greensboro, NC 27401


                                                              Bankruptcy Case No.: 19−10838

IN THE MATTER OF:
Trung Trieu Tran xxx−xx−8336
1364 Lees Chapel Road; Apt F
Greensboro, NC 27455
   Debtor(s)




                              CLERK’S NOTICE OF
                   BANKRUPTCY ADMINISTRATOR’S STATEMENT
                   THAT NO PRESUMPTION OF ABUSE HAS ARISEN
                            UNDER 11 U.S.C. § 707(b)(2)




    As required by 11 U.S.C. § 704(b)(1)(A), the Bankruptcy Administrator has reviewed the
materials filed by the debtor(s). Having considered these materials in reference to the criteria set
forth in 11 U.S.C. § 707(b)(2), and, pursuant to 11 U.S.C. § 704(b)(2) and § 707(b)(2), the
Bankruptcy Administrator has determined that the debtor’s(s’) case is not presumed to be an
abuse of the provisions of Chapter 7 under 11 U.S.C. s 707(b)(2).




Dated: 9/12/19                                                              Reid Wilcox
                                                                       ____________________
                                                                           CLERK OF COURT
